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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DOGGIE DENTAL INC, et al.,                                       Civil Action No.

                              Plaintiffs,                             19-746

v.                                                               (Judge Hornak)

MAX_BUY, et al.,

                              Defendants.




                          NOTICE OF VOLUNTARY DISMISSAL



       PURSUANT TO Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs,

through their undersigned attorneys, hereby gives notice of the voluntary dismissal with

prejudice of all claims against Defendant, bruceshark-003, smartshopper2018, peninsulahome,

soonhua2010, excelsellerusa, chuanhu-store, ralliart401, savvy-variety-shop, roberttaylor1589,

lxlspets, maexus2018, boris11184, yair_uza, 15oceaneshop, rchcommerce1, jaman38,

makdeep_0, uleader666, happy-shop09, violetrosech, wewell888, and saveyourbuy with each

party to bear its own attorneys’ fees, costs, and expenses. The dismissed Defendants have

neither answered Plaintiff’s Complaint nor filed a responsive pleading. Accordingly, these

Defendants may be voluntarily dismissed and without a court order under Rule 41(a)(1)(A)(i).

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                                   Respectfully submitted,



Dated: August 23, 2019             /s/ Brian Samuel Malkin
                                   Stanley D. Ference III
                                   Pa. ID No. 59899
                                   courts@ferencelaw.com

                                   Brian Samuel Malkin
                                   Pa. ID No. 70448
                                   bmalkin@ferencelaw.com

                                   FERENCE & ASSOCIATES LLC
                                   409 Broad Street
                                   Pittsburgh, Pennsylvania 15143
                                   (412) 741-8400 – Telephone
                                   (412) 741-9292 – Facsimile

                                   Attorneys for Plaintiffs




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